Case 2:Ol-cr-OOO71-I\/|V Document 64 Filed 01/29/04 Page 1 of 2

lN THF. LINITF.D s'rATl-:s 0F AMERiC`A_ `;j':_ li

FOR THE DlSTRICT OF NFW ME\|(.` 0

. . ot int 29 Pt’\ \ \
t,-NITF.D STATL‘.s oF AMERICA.
Plaintifl'. .-'."H}?.‘)`-`-- l
vs. CR No. 01-071 Mv

Ml(.`HAEl. F.STRA DA.
Det`endant.

S'I`IPULA'I`ED MOT|ON TO RELF.ASE DF.FENDANT FOR
lNPATll'I-.\IT DRUG REHAB]|,|'I`AT|ON

C`OMES NOW. Michael l`:strada. the above named defendant. by and through his
attomcy. Dennis J. Candclaria, Assistant Federal Public Def`ender. and submits the following
motion to release Mr. Estrada to receive in-patient drug treatment and rehabilitation at the Yucca
Lodge in Bayard. I\levv Me.\tico. ln support ol`thc motion it is states as lollo\vs:

l. f\/lr. Estracla was sentenced on a violation ot` supervised release on .lanuary 16.

2004, before Chiet`.ludge Martha Vazquez.

I~J

.ludge 'v'azqucz sentenced Mr. Estrada to 205 days of con lincment. followed by

one year ot`superviscd release to include in-patient drug treatment Yueca l.odge

has accepted Mr. Estrada into the program. however, it will not have a bed

available to receive Mr. Estrada until February 3. 2004. at 10:00 a.m.

3. Upon completing his jail sentence. Mr. Estrada is to be transported to Yucca
I.odge to begin itt-patient drug treatment and rehabilitation

4. The l" ederal Public Det`ender’s Oi`l“lce requests that the Dona Ana (_`ounty

Detention Center release Mr. Estrada to its investigator. .\/Ir. Tim Kling or to an

Case 2:Ol-cr-OOO71-I\/|V Document 64 Filed 01/29/04 Page 2 of 2

agent of the Federal Public Dcfender`s Oflice who will transport him to the Yucca
Lodgc Treatment Prograln on February 3, 2004. at 7:00 a.m.
5. Assistant U.S. Attomey, Tcrry Abemathv. does not oppose this motion.
6. U.S. Probation Ot`licer, Robert Rosenbloom. opposes this motion.
WHEREFORE. Det`endant . Mr. Estrada requests this C ourt to issue and Order permitting
Mr. Estrada to be released to an agent of the F`ederal Public l')efendcr`s Of`fice to attend the
‘r'ucca Lodge Rcliabilitation Center.
Respectt`ully Submitted.
FEDERAL PUBLIC DEFENDER
500 S. f\/lain Ste. 600

Las C`ruces. New Mcxico 8800]
527-6930

died

barll~us J. CA`NDELARIA
Assistant Federa] Public Del`ender

C.`ERT]F|CA"l`E OF` SERVICE

ll-l EREBY C ERTIl-"‘rr that a true copy of the foregoing pleading was served upon Assistant
United States Attorncy. Terry Abemathy. and Unitcd Statcs Probation Ofl`lccr. Robcrt Rosenboom.
by placing same in the Assistant United States Attomey ’s box and U.S. Probation Offtce’s box at
the elerk’s office ot`the Unitcd States District Court in Las Cruees, New Mexico, this 2ch day of

January. 2004. /0 M

denile J. CANDELARIA

